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8                           UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                 ) Case No. 20-CR-3382-JLS
                                               )
12                                             )
                           Plaintiff,          )
13   v.                                        )
                                               )
14                                             ) ORDER TO CONTINUE MOTION
     JOHN MASIS,                               ) HEARING / TRIAL SETTING
15                         Defendant.          )
                                               )
16                                             )
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           Pursuant to joint motion and good Cause appearing, IT IS HEREBY
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     ORDERED, that the motion hearing / trial setting date be continued from October 15,
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     2021, to December 3, 2021 at 1:30 p.m. In the interests of justice, time is excluded
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     under the Speedy Trial Act, to allow the defense counsel time to consult with mental
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     health experts and Mr. Masis.
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           IT IS SO ORDERED.
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     Dated: October 6, 2021
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